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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


IN RE: SUBPOENA TO NON-PARTY :
LINDSEY O. GRAHAM in his official :
capacity as United States Senator, :             CIVIL ACTION NO.
                                   :             1:22-cv-03027-LMM
In the matter of:                  :
                                   :
SPECIAL PURPOSE GRAND JURY, :
FULTON COUNTY SUPERIOR             :
COURT CASE NO. 2022-EX-            :
000024.                            :
                                   :


                                     ORDER

      This case comes before the Court on an Order of Dismissal from the U.S.

Court of Appeals for the Eleventh Circuit [53]. After all proceedings regarding

this matter concluded, the Eleventh Circuit remanded the case to this Court with

instructions to dismiss the case as moot. Accordingly, this case is DISMISSED

as moot. The Clerk is DIRECTED to CLOSE this case.

      IT IS SO ORDERED this 28th day of December, 2022.


                                      _____________________________
                                      Leigh Martin May
                                      United States District Judge
